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4
     Attorney for Defendant
5    THONGCHONE VONGDENG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-176 TLN
10                                           )
                         Plaintiff,          )   STIPULATION AND ORDER CONTINUING
11                                           )   JUDGMENT AND SENTENCING
     vs.                                     )
12                                           )   Date: December 7, 2017
     THONGCHONE VONGDENG,                    )   Judge: Honorable Troy L. Nunley
13                                           )
                         Defendant.          )
14                                           )

15

16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter is presently set for November
18
              2, 2017.   Counsel for the parties request the date for judgment and
19
              sentencing be continued to December 7, 2017 at 9:30 a.m.
20
              Assistant U.S. Attorney André Espinosa has been advised of this
21
              request and has no objection.      U.S. Probation has also been advised
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              of this request.    The parties request the Court adopt the following
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              schedule pertaining to the presentence report:
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              Judgment and Sentencing date:                                  12/7/17
25
              Reply, or Statement of Non-Opposition:                         11/16/17
26
              Motion for Correction of the Presentence Report
27            Shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later
28            than:                                                          11/9/17
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1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:                      11/2/17

3              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
4              and opposing Counsel no later than:                                10/26/17

5              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:                      10/12/17
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7

8    Dated:   October 3, 2017                     /s/ John R. Manning
                                                  JOHN R. MANNING
9                                                 Attorney for Defendant
                                                  Thongchone Vongdeng
10

11   Dated:   October 3, 2017                     Phillip A. Talbert
                                                  United States Attorney
12
                                                  by: /s/ André Espinosa
13                                                ANDRÉ ESPINOSA
                                                  Assistant United States Attorney
14

15

16                                        ORDER

17   IT IS SO FOUND AND ORDERED this 3rd day of October, 2017.

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                                                   Troy L. Nunley
22                                                 United States District Judge

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